  Case 1:23-mj-00274-MN Document 9 Filed 07/25/23 Page 1 of 1 PageID #: 917




July 25, 2023

The Honorable Maryellen Noreika
United States District Judge
U.S. District Court
844 N. King Street
Wilmington, DE 19801


                Re:    United States v. Biden, No. 23-MJ-00274-MN

Your Honor:

   I write on behalf of Robert Hunter Biden, with reference to the application filed today by
counsel for the Hon. Jason Smith, Member of the U.S. House of Representatives and Chair of the
U.S. House of Representatives Committee on Ways and Means.
    We object to counsel’s belated application to intervene for substantially the reasons in our
attached letter to counsel.
                                              Respectfully submitted,




                                              Christopher J. Clark

Enclosure

cc:    Benjamin L. Wallace, Esq. (U.S. Department of Justice)
       Leo J. Wise, Esq. (U.S. Department of Justice)
       Derek E. Hines, Esq. (U.S. Department of Justice)
       Richard I.G. Jones, Jr. (Berger Harris, LLP)
       Brian C. McManus, Esq. (Latham & Watkins LLP)
       Matthew S. Salerno, Esq. (Latham & Watkins LLP)
       Timothy H. McCarten, Esq. (Latham & Watkins LLP)
